    Case: 1:21-cv-02408 Document #: 46 Filed: 06/10/22 Page 1 of 9 PageID #:200




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BRITTANI DANETTE ATKINS,                   )
      Plaintiff,                           )
                                           )
     v.                                    )
                                           )
HEALTHCARE REVENUE RECOVERY GROUP, L.L.C., )
     Defendant.                            )

                     PLAINTIFF BRITTANI ATKINS’ RESPONSE TO
                   THE DEFENDANT’S MOTION TO DISMISS (ECF 45)

       Defendant HRRG’s motion correctly states that “HRRG’s motion raises a simple issue:

does Plaintiff have standing to bring this action under the FDCPA?” (ECF 45, p. 2.) The simple

answer is Yes, according to Gadelhak v. AT&T Services, Inc., 950 F.3d 458, 463 (7th Cir. 2020),

in which the Seventh Circuit held that just a “few unwanted … text messages can constitute a

concrete injury-in-fact for Article III purposes.” In Gadelhak, at 462, the court noted that “[t]he

common law has long recognized actions at law against defendants who invaded the private

solitude of another by committing the tort of ‘intrusion upon seclusion.’” The court then held

that, while a “few unwanted automated text messages may be too minor an annoyance to be

actionable at common law[,] such texts nevertheless pose the same kind of harm that common

law courts recognize—a concrete harm that Congress has chosen to make legally cognizable.”

Id., at 463 (emphasis in original). The court then moved on to the case merits after the court had

noted that the defendant “AT&T sent [plaintiff] Chicago resident Ali Gadelhak five text

messages.” Id., at 460 – 463. See also, Lupia v. Medicredit, Inc., 8 F.4th 1184, 1192 (10th Cir.

2021) (citing Gadelhak and holding that plaintiff had standing because the Defendant “made

only one call to [Plaintiff] Ms. Lupia, that Ms. Lupia didn’t answer”).
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       While Ms. Atkins concedes that she does not have standing to prosecute her Count 1 and

2 claims, she does have standing to prosecute the Count 3 claim because, with respect to Count

3, the Defendant’s “intrusion upon seclusion” was even greater than just five text messages.

With respect to the Count 3 claim, Ms. Atkins alleges that the Defendant violated 15 U.S.C. §

1692d(5) because “the Defendant continued to place at least 5 more telephone calls to her,” even

after “she stated that she did not have any reason to speak with Defendant” when, “in March

2021, Ms. Atkins answered the Defendant’s call.” (ECF 1 (Complaint), p. 3, ¶¶ 11, 12, & 14.) In

Ms. Atkins’ responses to the Defendant’s interrogatories, Ms. Atkins stated that, during this

March 2021 call conversation, “Plaintiff conveyed to the Defendant that Plaintiff would not

communicate further with the Defendant1.” Ms. Atkins also testified that, during the March 2021

call, Ms. Atkins “told [the Defendant’s representative to] just take [Ms. Atkins] off the database[,

but the Defendant’s representative] kept -- they kept calling2.” Ms. Atkins additionally testified

that “the [Defendant] company, kept calling [Ms. Atkins] after [Ms. Atkins] told them to take

[her] out of the database3.”



       The Defendant’s own production establishes that, after March 2021, the Defendant made

8 calls to Ms. Atkins, and Ms. Atkins has stated under oath that all of the Defendant’s April 2021

calls interrupted her4. According to the Defendant’s own production, the Defendant called Ms.

Atkins on April 6, 2021 at 5:23pm, again on April 8, 2021 at 5:40pm, again on April 12, 2021 at

6:08pm, again on April 14 at 6:31pm, again on April 16 at 5:51, again on April 20 at 5:43pm,

again on April 22 at 5:42pm, and again on April 27 at 5:37pm5. Ms. Atkins further testified that,

1 Attached Exhibit 1 (Excerpt of Ms. Atkins’ Responses to Defendant’s Interrogatories) (highlighting
  added to Exhibit).
2 Attached Exhibit 2 (Excerpt of Transcripts of Ms. Atkins’ Deposition) (highlighting added to Exhibit).
3 Attached Exhibit 3 (Excerpt of Transcripts of Ms. Atkins’ Deposition) (highlighting added to Exhibit).
4 Attached Exhibit 4 (Ms. Atkins’ Affidavit).
5 Exhibit 5 (Defendant’s Production of Discovery) (to be filed under seal pursuant to Court’s
      Case: 1:21-cv-02408 Document #: 46 Filed: 06/10/22 Page 3 of 9 PageID #:202




during the Defendant’s April 27 call, Ms. Atkins answered “Hello,” but the Defendant simply

stated “bye” and disconnected the call6. Only after Ms. Atkins’ counsel directly contacted the

Defendant’s President and cited the FDCPA, did the Defendant actually cease calling Ms.

Atkins7. Thus, pursuant to Gadelhak, the Defendant’s 8 unwanted calls constitute a concrete

injury-in-fact for Article III purposes.



        The Defendant finally asserts that “[a]ny supposed injury is not traceable to HRRG.”

(ECF 45, p. 11.) The Defendant’s assertion is frivolous. The Defendant’s intrusion on Ms.

Atkins’ seclusion was caused only by the Defendant and that intrusion on seclusion is traceable

only, and directly, to HRRG.



        Wherefore, Ms. Atkins respectfully urges the Court to hold that the simple answer is Yes,

pursuant to Gadelhak, Ms. Atkins does have standing to bring this action. If the Court were to

hold that Ms. Atkins has insufficiently pled her cause of action, she would respectfully move for

leave to amend her complaint.

        Respectfully submitted,
        Plaintiff’s, Britani Atkins’s, Counsel
        North & Sedgwick, L.L.C.
by:     /s/ Paúl Camarena
        Paúl Camarena, Esq.
        500 So. Clinton, No. 132
        Chicago, IL 60607
        paulcamarena@paulcamarena.com
        (312) 493-7494




  Confidentiality Order (ECF 24)).
6 Attached Exhibit 6 (Excerpt of Transcripts of Ms. Atkins’ Deposition) (highlighting added to Exhibit).
7 Attached Exhibit 7 (Ms. Atkins’ counsel’s April 28, 2021 email to Defendant’s President).
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                                                         Exhibit 1
              INTERROGATORY NO. 17

                         Please provide the basis behind your allegation that HRRG had “knowledge” that it

              would not be able to communicate meaningfully with you after your first telephone conversation.

              See Complaint ¶14.

              RESPONSE:

              Plaintiff conveyed to the Defendant that Plaintiff would not communicate further with the
              Defendant.

              INTERROGATORY NO. 18

                         Please identify the factual basis behind your allegation that HRRG placed a call to you on

              April 2021 and how you know HRRG was the caller in light of your allegation that the call was

              disconnected before anything was said. See Complaint, ¶ 15.

              RESPONSE:

              Plaintiff called back and the Defendant identified itself.

              INTERROGATORY NO. 19

                         Please identify why the disconnected telephone call caused you to tremble and how this is

              an “injury-in-fact” caused by HRRG. See Complaint, ¶ 17.

              RESPONSE:

              Plaintiff objects to responding on the basis that the interrogatory calls for a legal
              conclusion.

              INTERROGATORY NO. 20

                         With respect to the actual damages sought by you in this lawsuit: (a) specify all the damages

              you seek in this matter; (b) explain in detail how you calculated such damages; and (c) identify all

              documents which relate to such claim for damages.
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                                             Exhibit 2
                                                      Page 58                                                   Page 60
   1       A I did not see any healthcare -- regarding           1   know if it was a she or he, they, the company, kept
   2   this situation or period?                                 2   calling me after I told them to take me out of the
   3       Q Regarding this situation.                           3   database. For two, they hung up on me when they
   4       A No, I did not go and see any healthcare             4   called instead of just talking. I don't know.
   5   providers regarding this situation.                       5   That was weird. Like there's no real reason to
   6       Q Okay. Have you ever treated before for,             6   hang up on me.
   7   you know, any emotional distress?                         7              So those were the two major things
   8       A No.                                                 8   that went wrong here in my personal opinion because
   9       Q Have you ever seen a therapist before?              9   if I tell you to stop calling, in my opinion and my
  10       A No.                                                10   understanding of the law is you have to stop
  11       Q Okay. Or have you ever seen someone who            11   calling me. Whether you believe I have business
  12   is similar to a therapist, like a counselor or           12   with you or I believe that I don't, if I
  13   something like that?                                     13   specifically say take me out of the database then
  14       A I mean, in my entire life?                         14   you should probably just take me out of the
  15       Q Yes.                                               15   database and just deal with it some other type of
  16       A Or regarding this situation?                       16   way or something. I don't know how they're
  17       Q In your entire life.                               17   supposed to deal with it if I say don't call, but I
  18       A Yeah, in my entire life I've seen a                18   do feel like my understanding of the law is you
  19   counselor, you know, like my regular, you know,          19   cannot call me once I say don't call me.
  20   college counselors and, you know, people that you        20       Q Do you believe that Healthcare Revenue
  21   can confide in, my pastor.                               21   Recovery Group was deceptive in any way?
  22       Q Okay.                                              22       A I believe that they -- the original
  23       A Like when you need to talk but not like            23   deception came from them calling from Illinois and
  24   therapy, an emotional therapist.                         24   they're in Florida.
                                                      Page 59                                                   Page 61
   1       Q Okay. And I know -- I think you already             1      Q Okay.
   2   answered this question before, but after these            2      A That's kind of deceiving, right?
   3   telephone calls did you talk to anybody about what        3      Q Do you have any reason to believe the
   4   happened in terms of the allegations in your              4   balance from Little Company of Mary was incorrect?
   5   complaint against Healthcare Revenue Recovery             5      A I don't have reason to believe that. I
   6   Group?                                                    6   mean, it could be correct, it could not be correct.
   7       A Anyone outside of Attorney Paul? No, I              7   I don't really believe that I -- I would not be
   8   did not.                                                  8   harassing me at this level for $27.
   9       Q Okay. In your own words, if you don't               9             Yeah. I -- like I said, I didn't know
  10   mind, could you kind of tell us what you believe         10   the balance or anything. Before I called her back
  11   Healthcare Revenue Recovery Group did wrong here?        11   that time she would not give me any information, so
  12       A For one, I told them I did not have any            12   I had no idea what the balance was. She's the one
  13   business with them, take me off the database,            13   who told me the balance. I don't have any way of
  14   figured it had to be some type of database, it was       14   knowing if it's correct or incorrect at this point.
  15   something that, you know, was wrong because I know       15   I haven't even gotten into all of that with United
  16   I didn't have any business with them. So I told          16   Healthcare or anything. It's $27.
  17   them to take me off the database, I don't have any       17                (Document was marked Exhibit 6
  18   business with them specifically.                         18                 for identification.)
  19             She began to say that I do have                19   BY MS. EASOM:
  20   business with them. She wouldn't tell me what            20      Q We're going to shift gears a little bit
  21   business it was unless I gave her my personal            21   and kind of just go over some of the disclosures
  22   information. So then I told her just take me off         22   that your attorney has sent over our way in this
  23   the database. She kept -- they kept calling, I           23   case.
  24   don't want to keep saying "she" because I don't          24             So I'm going to share my screen again.

                                                                                                  16 (Pages 58 - 61)
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                                             Exhibit 3
                                                      Page 58                                                   Page 60
   1       A I did not see any healthcare -- regarding           1   know if it was a she or he, they, the company, kept
   2   this situation or period?                                 2   calling me after I told them to take me out of the
   3       Q Regarding this situation.                           3   database. For two, they hung up on me when they
   4       A No, I did not go and see any healthcare             4   called instead of just talking. I don't know.
   5   providers regarding this situation.                       5   That was weird. Like there's no real reason to
   6       Q Okay. Have you ever treated before for,             6   hang up on me.
   7   you know, any emotional distress?                         7              So those were the two major things
   8       A No.                                                 8   that went wrong here in my personal opinion because
   9       Q Have you ever seen a therapist before?              9   if I tell you to stop calling, in my opinion and my
  10       A No.                                                10   understanding of the law is you have to stop
  11       Q Okay. Or have you ever seen someone who            11   calling me. Whether you believe I have business
  12   is similar to a therapist, like a counselor or           12   with you or I believe that I don't, if I
  13   something like that?                                     13   specifically say take me out of the database then
  14       A I mean, in my entire life?                         14   you should probably just take me out of the
  15       Q Yes.                                               15   database and just deal with it some other type of
  16       A Or regarding this situation?                       16   way or something. I don't know how they're
  17       Q In your entire life.                               17   supposed to deal with it if I say don't call, but I
  18       A Yeah, in my entire life I've seen a                18   do feel like my understanding of the law is you
  19   counselor, you know, like my regular, you know,          19   cannot call me once I say don't call me.
  20   college counselors and, you know, people that you        20       Q Do you believe that Healthcare Revenue
  21   can confide in, my pastor.                               21   Recovery Group was deceptive in any way?
  22       Q Okay.                                              22       A I believe that they -- the original
  23       A Like when you need to talk but not like            23   deception came from them calling from Illinois and
  24   therapy, an emotional therapist.                         24   they're in Florida.
                                                      Page 59                                                   Page 61
   1       Q Okay. And I know -- I think you already             1      Q Okay.
   2   answered this question before, but after these            2      A That's kind of deceiving, right?
   3   telephone calls did you talk to anybody about what        3      Q Do you have any reason to believe the
   4   happened in terms of the allegations in your              4   balance from Little Company of Mary was incorrect?
   5   complaint against Healthcare Revenue Recovery             5      A I don't have reason to believe that. I
   6   Group?                                                    6   mean, it could be correct, it could not be correct.
   7       A Anyone outside of Attorney Paul? No, I              7   I don't really believe that I -- I would not be
   8   did not.                                                  8   harassing me at this level for $27.
   9       Q Okay. In your own words, if you don't               9             Yeah. I -- like I said, I didn't know
  10   mind, could you kind of tell us what you believe         10   the balance or anything. Before I called her back
  11   Healthcare Revenue Recovery Group did wrong here?        11   that time she would not give me any information, so
  12       A For one, I told them I did not have any            12   I had no idea what the balance was. She's the one
  13   business with them, take me off the database,            13   who told me the balance. I don't have any way of
  14   figured it had to be some type of database, it was       14   knowing if it's correct or incorrect at this point.
  15   something that, you know, was wrong because I know       15   I haven't even gotten into all of that with United
  16   I didn't have any business with them. So I told          16   Healthcare or anything. It's $27.
  17   them to take me off the database, I don't have any       17                (Document was marked Exhibit 6
  18   business with them specifically.                         18                 for identification.)
  19             She began to say that I do have                19   BY MS. EASOM:
  20   business with them. She wouldn't tell me what            20      Q We're going to shift gears a little bit
  21   business it was unless I gave her my personal            21   and kind of just go over some of the disclosures
  22   information. So then I told her just take me off         22   that your attorney has sent over our way in this
  23   the database. She kept -- they kept calling, I           23   case.
  24   don't want to keep saying "she" because I don't          24             So I'm going to share my screen again.

                                                                                                  16 (Pages 58 - 61)
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                                          Exhibit 4
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRITTANI DANETTE ATKINS,                   )
      Plaintiff,                           )
                                           )
     v.                                    )
                                           )
HEALTHCARE REVENUE RECOVERY GROUP, L.L.C., )
     Defendant.                            )

                                BRITTANI ATKINS’ AFFIDAVIT

        I, Brittani Atkins, being first sworn on oath, state as follows:

1)      I am the Plaintiff in the instant matter.

2)      The Defendant’s March 31, 2021 call to me interrupted me.

3)      The Defendant’s April 6, 2021 call to me interrupted me.

4)      The Defendant’s April 8, 2021 call to me interrupted me.

5)      The Defendant’s April 12, 2021 call to me interrupted me.

6)      The Defendant’s April 14, 2021 call to me interrupted me.

7)      The Defendant’s April 16, 2021 call to me interrupted me.

8)      The Defendant’s April 20, 2021 call to me interrupted me.

9)      The Defendant’s April 22, 2021 call to me interrupted me.

10)     The Defendant’s April 27, 2021 call to me interrupted me.

FURTHER AFFIANT SAYETH NOT.


/s/ Brittani Atkins 06/10/22
Brittani Atkins
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                                          Exhibit 6
                                                  Page 30                                                     Page 32
  1   name, even though she should have my full name         1   number.
  2   because she called me, I didn't call her, and she      2      Q And is part of your business getting
  3   asked me for like my address. I can't remember if      3   referrals from friends and people will reach out to
  4   she asked me for the last four of my Social, but I     4   you because they -- from word of mouth they've
  5   know for sure she asked me like my address and my      5   heard about your financial --
  6   full name for the record. I wasn't going to give       6      A Yeah, it's very possible. Yeah.
  7   her my address because I didn't even -- it's so        7      Q Okay. And do you have a Facebook page
  8   easy for somebody to call you and get your             8   for your business as well?
  9   information. I'm like, "No."                           9      A I have a LinkedIn and a Twitter.
 10       Q Have you ever received a telephone call         10      Q What's your Twitter handle?
 11   from a creditor before?                               11      A Breeyahdoesit.
 12       A Yeah. I've received a call from a               12      Q I'm sorry. What was that?
 13   creditor before.                                      13      A B-r-e-e-y-a-h doesit, d-o-e-s-i-t.
 14       Q Okay. And when was that approximately?          14      Q Now, after Healthcare Revenue Recovery
 15       A Oh, I don't know. I don't write this            15   Group called you that first time did you block
 16   stuff down.                                           16   their number?
 17       Q And do you remember that first telephone        17      A I did not. I told them that I had no
 18   call that you received from Healthcare Revenue        18   business with them. I didn't know they were going
 19   Recovery Group, was that to your personal phone or    19   to keep calling me over and over, so I had no real
 20   your business phone?                                  20   reason to block them at that time. They're not
 21       A Yes, that was to my personal phone,             21   even blocked to this day.
 22   773/402-9322.                                         22      Q Did you ever send Healthcare Revenue
 23       Q Okay. And do you remember, you know,            23   Recovery Group any letters?
 24   what you saw when you received the call? Was it a     24      A I did not.
                                                  Page 31                                                     Page 33
  1   telephone number on your caller ID?                    1       Q Did you ever send them any e-mails?
  2        A Yes, it was a telephone number in my            2       A No.
  3   caller ID the first time. Well, every time.            3       Q And did you ever call Healthcare Revenue
  4        Q And when you receive phone calls from           4   Recovery Group?
  5   numbers that aren't saved in your phone do you         5       A I called them, yes. I called them once.
  6   typically answer those phone calls?                    6       Q Okay. And was that -- I just want to
  7        A I do.                                           7   make sure we're kind of going in chronological
  8        Q Okay. Do you ever receive telephone             8   order. After that first conversation when was the
  9   calls from out-of-state numbers?                       9   next time that you spoke with Healthcare Revenue
 10        A I do.                                          10   Recovery Group over the phone?
 11        Q Okay. And do you typically answer those        11       A The next time I spoke with them over the
 12   phone calls as well?                                  12   phone I believe was April.
 13        A Yes.                                           13       Q And that was when you called them or did
 14        Q Do you have people that you don't know         14   they call you?
 15   calling you because you have your Atkins Financial,   15       A That was when they called me and hung up,
 16   LLC, as part of your business?                        16   and then I called them back.
 17        A Would they call my 773 phone number?           17       Q Okay. Now when you answered the phone
 18   It's possible depending on who the reference was or   18   what did you hear on the other end on that second
 19   if they got my information on Facebook or a group     19   telephone conversation?
 20   or something like that. It's possible. It's not       20       A Silence.
 21   my listed number as the business number, but if       21       Q Okay.
 22   it's a reference of a reference of a friend or        22       A And I'm saying, "Hello. Hello." And
 23   something and they have my personal number it's       23   then I heard like -- like bye, hang-up.
 24   very possible that someone could call me on that      24       Q And do you remember where you were when

                                                                                                 9 (Pages 30 - 33)
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  From: paulcamarena@paulcamarena.com,             Exhibit 7
     To: possiblyuselessnands@aol.com,
Subject: Fw: 15 U.S.C. §§ 1692c(a)(2) & 1692c(a)
  Date: Sun, May 2, 2021 10:27 pm




----- Forwarded Message -----
From: Paul Camarena <paulcamarena@paulcamarena.com>
To: david_friedlander@teamhealth.com <david_friedlander@teamhealth.com>
Sent: Wednesday, April 28, 2021, 10:57:54 PM CDT
Subject: 15 U.S.C. §§ 1692c(a)(2) & 1692c(a)

Please have Healthcare Revenue Recovery Group refrain from reaching out to my client:

Brittani Atkins
(773) 402-9322

Thank you,



Paúl Camarena, C.P.A., Esq.

Admitted to practice law exclusively in NY and before federal courts

Illinois Registered Certified Public Accountant

500 So. Clinton, No. 132

Chicago, IL 60607

(312) 493-7494
